       Case 1:24-cv-00941-JKB         Document 191      Filed 09/24/24       Page 1 of 4




                            IN THE UNITED STATES DISTRICT
                             COURT FOR THE DISTRICT OF
                                      MARYLAND
                                    (Northern Division)

IN THE MATTER OF THE PETITION
                     OF                                        CASE NO. JKB-24-cv-941
GRACE OCEAN PRIVATE LIMITED,
as owner of the M/V DALI,                                      IN ADMIRALTY
                     AND
SYNERGY MARINE PTE LTD,
As Manager of the M/V DALI,


Seeking Exoneration from or Limitation of
Liability


          VERIFIED CLAIM OF RESPONDENT STATE FARM INSURANCE
               COMPANIES AS SUBROGEE OF MARIA HUNTER

         Respondent, State Farm Insurance Companies a/s/o Maria Hunter by and through

 undersigned counsel, and pursuant to this Court's Order (ECF No. 5) and the Federal Rules

 of Civil Procedure Supplemental Rules for Admiralty or Maritime Claims and Asset

 Forfeiture Actions, specifically Rule F(5), in response to Complainant's Complaint, state:

                                     Factual Background

         1.       Petitioners are Grace Ocean Private Limited as owner of the M/V Dali (the

“Vessel”) and Synergy Marine PTE LTD. as manager of the M/V Dali (hereinafter,

"Petitioners").

          2.      Claimant State Farm Insurance Companies Insurance Company is an Illinois

Corporation with a principal place of business located in Bloomington, IL.

          3.      At all times material hereto, Maria Hunter owned a 2020 Nissan MAXIMA

VIN: 1N4AA6DV7LC368825 (“Hunter Vehicle”).
       Case 1:24-cv-00941-JKB           Document 191        Filed 09/24/24       Page 2 of 4



          4.       At all times material hereto, State Farm was authorized to issue an

automobile policy that covered the Vehicle to Maria Hunter and issued said policy under

Policy 1997-849-20D ("the Policy").

        5.         Upon information and belief, at all times relevant hereto, Grace Ocean

Private Limited as owner of the M/V Dali and Synergy Marine PTE LTD. as manager of the

M/V Dali.

        6.         On or about March 26, 2024, the Hunter Vehicle was located on the Francis

Scott Key Bridge.

         7.         On said date, the Vessel collided with the Francis Scott Key Bridge, thereby

causing it to collapse damaging several vehicles including the Hunter Vehicle.

          8.        The collision between the Vessel and the bridge that resulted in damage to the

Hunter Vehicle, was caused by the careless, negligent, or reckless acts or omissions of

Petitioners and/or its agents.

                               Claimed Damages to Hunter Vehicle

            9.     State Farm conducted a survey of the damage sustained to the Hunter

Vehicle. The Hunter Vehicle was deemed a total loss. The estimates the damages to be

$20,264.80 inclusive of Ms. Hunter’s $100.00 deductible. A copy of the supporting estimates

of the damage to the Vehicle are attached hereto and incorporated herewith as Exhibit 1.

                                             Claims

             10.   As a result of the above-described occurrence, Respondent sustained and

therefore claimed Twenty Thousand Two Hundred and Sixty-Four and 80/100 ($20,264.80).
      Case 1:24-cv-00941-JKB        Document 191       Filed 09/24/24     Page 3 of 4




       WHEREFORE, Respondent State Farm Insurance Companies, proceeding as subrogee

of Maria Hunter, demands judgment against Complainant for all claims as evidenced and

contained herein.

  Dated: September 24, 2024




                                                    Respectfully submitted,

                                                         /s/ Charles J. Fratus, Esq.
                                                         FRATUS LAW GROUP, LLC
                                                         Charles J. Fratus (Bar No. 13169)
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                                                         Attorney for Respondent




                     VERIFICATION FOR VERIFIED CLAIMS OF
                                RESPONDENT

           I DO SOLEMNLY AFFIRM under the penalties of perjury that the above

     statements are true to the best of my knowledge, information and belief.




                                                        /s/ Charles J. Fratus____
                                                   Charles J. Fratus (Bar No. 13169)
      Case 1:24-cv-00941-JKB          Document 191     Filed 09/24/24          Page 4 of 4




                                      CERTIFICATE OF SERVICE

       I hereby certify that, on the 24th of September, 2024 I electronically filed the

foregoing Verified Claim of Claimant, State Farm Insurance Companies via the CM/ECF

system which will be sent electronically to counsel who are registered participants identified

on the Notice of Electronic Filing.


                                                       /s/ Charles J. Fratus
                                                  Charles J. Fratus (Bar No. 13169)
